  Case 9:12-cv-80364-KAM Document 65 Entered on FLSD Docket 08/20/2012 Page 1 of 3




       IN TH E U NITED STA TES DISTRICT CO URT FOR TH E SO UTH ERN
            DISTRIC T O F FLOR IDA W EST PA LM BEA  Dl SION

                                CASE NO.12B> - - i'                  RANNON
JOIlN KORM AN
   '
                                           )     AkC 2' 202
PrivateAttorneyGeneral,       Petitioner, )
                                          )       sljl,yjyyl
                                                  lb      . y.
                                     )
                                     ) cw uuRIGHTS19:3U OLATION
AURORA LOAN SERVICES LLC;            )          FORGERY
OFFICE OF CEO ,AND PRES OF AURORA;)              USURY
AUROM BANK FSB;                      )      CIVIL CONSPIM CY
M ERSCORP HOLDINGS,INC;               )      STELLIONATION
M ORTGAGE ELECTRONIC                  )      G TW NSIC FM UD
REGISTM TION SYSTEM S INC;            )    ATTEM PTED LARCENY
LEHM AN XS TRUST 2006-11;             ) FRAUDULENT CONVERSION
LASALLE BANK N.A.asTRUSTEE;           )   CONSTRUCTIVE FRAUD
U.S.BANCORP assuccessorTRUSTEE;       )    W OLATION OFFDCPA
ASSOCIATES LAND TITLE INC;            )     VIOLATION OFTCPA
TH EODORE SCHULTZ,lndividual;         )     VIOI,ATION OF FCRA
LAURA M CCANN,lndiWdualu'             )   VIOLATION OF FDUTPA
CYNTHIA W ALLACE,Individual;           )        m IL FRAIJD
JOANN REIN,lndividualq
                     '                 )        W IRE FM UD
LAW OFFICE OF DAVID J.STERN P.A.; )             UTTERING
DAVID JAM ES STERN Esquire;            )           R.I.C.o.
IG ROL S.PIERCE,Esquire;               ) FM UDULENT INDUCEM ENT
CASSANDM RACINE-RIGAUD,Esquire; )               FALSE CLAIM
M ISTY BARNES,Esquire;                 )     M ORTGAGE FRAUD
DARLINE DIETZ,Notary;                  ) PROFESSIONAL NEGIGENCE
JOHN DOE 1- 100;                       )
JANE DOE 1- 100;                       )        DEM AND FOR JURY
                                       )               TRIAL
                           Defendants. )          Fed.R.CiV.P.38(b)
                                            /


                 PETIH ONER'S M OH O N FOR DEFAULT JUDGM ENT




 KORM AN v AUROM G 4.              Page 1 of3
    Case 9:12-cv-80364-KAM Document 65 Entered on FLSD Docket 08/20/2012 Page 2 of 3


         CO M ES NOW JO HN KO RMAN , (herei
                                          nafterddpetitioner),movethe Courtto enteran
  O rderofDefaultagainstDefendantTheodore Schultz forfailure to defend againstthe
                                                      ,

  Com plaint served by Summ ons with the Complainton the 19tbda
            1                                                  y ofApril2012.tResponse
  required by 10thday ofM ay 2012 DefendantTheodore Schultz failed to respond Default
                                   .
                                                                                  .


  Judgmentshould therefore be entered againstDefendantTheodore S
                                                                   chultz pursuantto Rule
  55 ofthe FederalRules ofCivilProœ dure, individually orseverally
                                                                    .




        Petitionerrequests compensatory and punitive dam ages in this m
                                                                          atter.As Plaintifrs
 damages are notfora sum certain oran amountthatO n be
                                                               m ade certain by computation,
 Rule 55(b)ofthe FederalRulesofCivilProcedure requiresPeti
                                                         tionerto make this
 application to the coud fora DefaultJudgment DefaultJudgm entis appropriate here
                                              .



 because Defendant Theodore Schultz who was properly served
                                                                  with the sum mons and
 complaint,failed to defend Peti
                               tionerhasestablished thisfactby amdavit;see (DE 17)
                               .
                                                                                        .


 Finally,DefendantTheodore Schultz is nota m inororincom p
                                                          etentperson.
        As Petitioner's claim forcom pensatory and punitive dam ages i
                                                                     s notfora sum certain,
 Petitionerhereby requestan evidentiary hearing pursuantto R
                                                               ule 55(b)(2)ofthe Federal
 Rules ofCivilProcedure to establish entitlem entto dam ages
                                                           .   Petitioner's Com plaintreserves
the rightto Trialby Jury   .




                                       CO NCLUSIO N

Petitionerrespectfully requests thatthe CourtgrantDefaultJ
                                                          udgm entin favorofPetitioner
and setan Evidentiary Hearing to establish the amountofdam a
                                                            ges.


Respectfully subm itted;

KORM AN v AUROM d ? .
                                        Page 2 of3
  Case 9:12-cv-80364-KAM Document 65 Entered on FLSD Docket 08/20/2012 Page 3 of 3




                                                                              ;



                                             B y:
                                                    Jq   934 SW 2lStW ay,
                                                                         ,Petitioner,
                                                         B oca R aton 33486
                                                            FloridaU .S.A .
                                                            (561)393-0773
                                                     kormanzool@ comcast.net


                         CER TIFICATE O F SERVICE

TH E UND ERSIG NED H ER EBY CER TIFIES thatatrue and correctcopy ofhereof
hasbeen forwarded,to the follow ing partiesWa e-m ailto the follow ing recipients;


SpencerTew /st@ tewlaw.com
StevenEllison/sellison@broadandcassel.com
LeonR.M argules/marguleslaw@yahoo.com


on this    thday ofAugust, 2012.

                                                  Jolm K orm an
                                                 934 SW 21stw ay
                                           Boca Raton,Florida 33486
                                                 (561)393-0773
                                           konnanzool c              .
                                                                          '
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                                                 J hn K orm an




KORM AN vAUROM G 4.                Page 3 of3
